                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                     2021-NCCOA-527

                                      No. COA 19-683

                                    Filed 5 October 2021

     Durham County, No. 18 CVS 4073

     MICHAEL MOLE’, Plaintiff,

                 v.

     CITY OF DURHAM, NORTH CAROLINA, a municipality, Defendant.


           Appeal by Plaintiff from order entered 24 May 2019 by Judge John M. Dunlow

     in Durham County Superior Court. Heard in the Court of Appeals 10 June 2021.


           The McGuinness Law Firm, by J. Michael McGuinness, and Edelstein &amp; Payne,
           by M. Travis Payne, for Plaintiff-Appellant.

           Kennon Craver, PLLC, by Henry W. Sappenfield and Michele L. Livingstone,
           for Defendant-Appellee.

           Essex Richards, P.A., by Norris A. Adams, II, for North Carolina Fraternal
           Order of Police, amicus curiae.


           INMAN, Judge.


¶1         In his first experience negotiating the surrender of an armed and barricaded

     suspect, without another negotiator backing him up, Durham Police Sergeant

     Michael Mole’ might have given up when the suspect’s gun discharged at close range.

     He didn’t, and two hours later he had persuaded the suspect to drop his weapon and

     surrender. The suspect, other citizens, and law enforcement officers were safe. But
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     Sergeant Mole’ was fired because he had secured the suspect’s surrender by

     promising to allow him to smoke a marijuana cigarette once in custody, and he made

     good on the promise immediately following the arrest.

¶2         Sergeant Mole’ sued the City of Durham, alleging that his employer violated

     his rights under the North Carolina Constitution. The trial court dismissed his

     complaint pursuant to Rule 12(b)(6) of the North Carolina Rules of Civil Procedure.

¶3         Because the complaint alleges a colorable violation of Article I, Section 1 of the

     North Carolina Constitution, which protects each person’s right to enjoy the fruits of

     their own labor, we hold the trial court erred in dismissing that claim. We otherwise

     affirm the trial court because binding precedent precludes a holding that Sergeant

     Mole’ has a constitutionally protected interest in continued employment under

     theories of due process or equal protection.

                     I.   FACTUAL AND PROCEDURAL HISTORY

¶4         The complaint pleads the following facts:

¶5         Sergeant Mole’ began working for the Durham Police Department in May 2007.

     He received hostage negotiation training in May 2014, but he did not negotiate a

     barricaded subject or hostage situation until the events giving rise to this case.

¶6         On 28 June 2016, the Durham Police Department dispatched officers to an

     apartment in Durham to serve an arrest warrant on Julius Smoot (“Smoot”). After

     entering the apartment, officers discovered that Smoot had barricaded himself in an
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       upstairs bedroom. Smoot yelled that he had a gun and that he would use it on himself

       in ten minutes unless he was allowed to see his wife and son. The officers retreated

       and requested a hostage negotiator.

¶7           Sergeant Mole’ was the only hostage negotiator on duty at the time. He arrived

       at the apartment five minutes before Smoot’s deadline and began negotiations with

       the primary goals of extending the deadline and keeping Smoot alive. During these

       negotiations, Smoot accidentally discharged his firearm.

¶8           Sergeant Mole’ continued to negotiate with Smoot for approximately two hours.

       During this time, Smoot said he planned to smoke a “blunt,” a marijuana cigarette.

       Sergeant Mole’, reluctant to allow an armed and barricaded subject to impair his

       mental state, asked Smoot to refrain. Sergeant Mole’ promised Smoot that if he

       disarmed and peacefully surrendered, he would be allowed to smoke the blunt.

¶9           Smoot then dropped his gun, handcuffed himself, and surrendered to Sergeant

       Mole’ in the apartment. Still in handcuffs, Smoot asked for his pack of legal tobacco

       cigarettes and lighter, which were on a nearby table, and Sergeant Mole’ handed

       those items to him. Smoot then pulled a marijuana blunt from behind his ear, lit it

       with the lighter, and smoked approximately half of it.

¶ 10         The Durham Police Department launched an internal investigation of

       Sergeant Mole’s actions following Smoot’s peaceful surrender. On 24 October 2016,

       approximately four months after the incident, Sergeant Mole’ was informed in writing
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       that a pre-disciplinary hearing would take place the next day, despite Durham’s

       written policy requiring advance notice of at least three days. Following the hearing,

       Sergeant Mole’s immediate supervisors recommended that he be reprimanded. But

       Durham terminated him.

¶ 11         In November 2018 Sergeant Mole’ filed a complaint alleging Durham had

       violated his state constitutional rights to due process, equal protection, and the fruits

       of his labor under the North Carolina Constitution. The trial court entered an order

       granting Durham’s motion to dismiss the complaint under Rule 12(b)(6) on 22 May

       2019. Sergeant Mole’ appeals.

                                        II.     ANALYSIS

¶ 12         Sergeant Mole’ argues that the facts pled in his complaint support claims for

       violations of his state constitutional rights to due process, equal protection, and the

       fruits of his labor. Article I, Section 1 of the North Carolina Constitution, in a

       provision unique to that document as compared to the federal constitution, protects

       the people’s rights to enjoy the fruits of their own labor. This provision was recently

       applied by our Supreme Court in Tully v. City of Wilmington, 370 N.C. 527, 810

       S.E.2d 208 (2018). Following the Supreme Court’s reasoning in Tully, we hold that

       Sergeant Mole’s complaint adequately pleads a claim for violation of Article I, Section

       1. We are constrained by binding precedents to affirm the trial court’s dismissal of

       his remaining constitutional claims.
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       A. Standard of Review

¶ 13         We review an order granting a 12(b)(6) motion to dismiss de novo to determine

       whether the complaint states a claim under which relief can be granted. Wells Fargo

       Bank, N.A. v. Corneal, 238 N.C. App. 192, 195, 767 S.E.2d 374, 377 (2014). We

       liberally construe the complaint and take the material factual allegations as true. Id.
       Legal conclusions, unlike factual allegations, are not presumed valid. Id.
       B. Fruits of One’s Labor

¶ 14         Sergeant Mole’ argues that his termination violated his right to the fruits of

       his labor guaranteed by Article I, Section 1 of the North Carolina Constitution. This

       provision ensures each person the right to “life, liberty, the enjoyment of the fruits of

       their own labor, and the pursuit of happiness.” N.C. Const. art. I, § 1 (emphasis

       added).   Unlike the due process and equal protection provisions of our state

       constitution, which have been interpreted to provide the same protection as

       provisions in the federal constitution, this guarantee has no analogous federal

       constitutional clause. See infra Parts II.C (1) and (2).

¶ 15         The “fruits of their own labor” clause was added to our state constitution in

       1868. It was adopted the same year the Fourteenth Amendment to the United States

       Constitution was ratified, at a time when formerly enslaved persons were newly able

       to work for their own benefit.       See John V. Orth, The North Carolina State

       Constitution with History and Commentary 38 (1995) (recognizing that the clause
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       was “an addition that may have been intended to strike an ideological blow at the

       slave labor system”).

¶ 16         Our appellate courts did not consider the clause until the 20th century, when

       it was applied to check the State’s professional licensing powers. See generally, e.g.,

       State v. Harris, 216 N.C. 746, 6 S.E.2d 854 (1940) (dry cleaning); State v. Ballance,

       229 N.C. 764, 51 S.E.2d 731 (1949) (photography); Roller v. Allen, 245 N.C. 516, 96

       S.E.2d 851 (1957) (tile installation). These decisions recognized a person’s ability to

       earn a livelihood as a protected constitutional right and struck down licensing

       restrictions not rationally related to public health, safety, or welfare and not

       reasonably necessary to promote a public good or prevent a public harm. Roller, 245

       N.C. at 518, 96 S.E.2d at 854; Ballance, 229 N.C. at 769-70, 51 S.E.2d at 735.

¶ 17         In recent years, our Supreme Court has extended application of the fruits of

       one’s labor clause beyond licensing restrictions to other state actions that interfere

       with one’s right to earn a livelihood. King v. Town of Chapel Hill held that a town

       ordinance capping towing fees was arbitrary and violated tow truck drivers’ rights to

       enjoy the fruits of their labor. 367 N.C. 400, 408, 758 S.E.2d 364, 371 (2014). Tully

       v. City of Wilmington held that a municipal police department violated a public

       employee’s constitutional right to enjoy the fruits of his own labor when it failed to

       follow its own promotion procedures. 370 N.C. at 539, 810 S.E.2d at 217.

¶ 18         Tully involved a Wilmington police officer who was denied a promotion after
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       he failed a mandatory examination that tested an officer’s knowledge of the law. 370

       N.C. at 528-29, 810 S.E.2d at 211. His exam answers were correct based on the

       current state of the law, but he failed the exam because the answer key was outdated.

       Id. Written department policy laid out the promotion and examination procedures

       and provided that candidates could appeal any portion of the selection process, so the

       officer sought to appeal his test results. Id. at 529-30, 810 S.E.2d at 211. The City of

       Wilmington refused to hear the officer’s appeal, determining the test results “were

       not a grievable item” and that nothing could be done. Id. at 529, 810 S.E.2d at 211
       (quotation marks omitted).

¶ 19          Our Supreme Court held that this denial of process violated the officer’s

       constitutional rights under Article I, Section 1, reasoning the provision applies “when

       a governmental entity acts in an arbitrary and capricious manner toward one of its

       employees by failing to abide by promotional procedures that the employer itself put

       in place.” Id. at 535-36, 810 S.E.2d at 215. It established the following requirements

       to plead such a constitutional claim:

                    [T]o state a direct constitutional claim grounded in this
                    unique right under the North Carolina Constitution, a
                    public employee must show that no other state law remedy
                    is available and plead facts establishing three elements: (1)
                    a clear, established rule or policy existed regarding the
                    employment promotional process that furthered a
                    legitimate governmental interest; (2) the employer violated
                    that policy; and (3) the plaintiff was injured as a result of
                    that violation.
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       Id. at 536-37, 810 S.E.2d at 216.1

          1.          Tully and Article I, Section 1 Apply to Mole’s Discipline

¶ 20           In deciding whether Sergeant Mole’ has asserted a valid Article I, Section 1

       claim, we must first resolve whether this state constitutional claim is limited to the

       “employment promotional process” language used by our Supreme Court in Tully. A

       strict reading of Tully would foreclose his claim.              However, Tully detailed the

       underlying constitutional injury in that case in terms broader than the promotional

       process, and the logic employed in that decision applies with equal force to the

       disciplinary action taken against Sergeant Mole’. Our understanding of Tully and its

       rationale, combined with its instruction to “give our [state] Constitution a liberal

       interpretation in favor of its citizens with respect to those provisions which were

       designed to safeguard the liberty and security of the citizens in regard to both person

       and property,” id. at 533, 810 S.E.2d at 214 (citation and quotation marks omitted),

       leads us to hold that Article I, Section 1 applies to the disciplinary action taken

       against Sergeant Mole’.

¶ 21           In declaring the existence of a valid claim under Article I, Section 1 in Tully,

       the Supreme Court acknowledged “the right to pursue one’s profession free from



               1 The Supreme Court declined to decide the form of remedy to which a successful Tully

       plaintiff is entitled, leaving that to the trial court to determine based on the facts of the case.
       Id. at 538, 810 S.E.2d at 216.
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       unreasonable governmental action.” Id. at 535, 810 S.E.2d at 215. It did so in part

       based on Presnell v. Pell, which recognized an allegedly unreasonable termination of

       a public school teacher implicated “the right to engage in any of the common

       occupations of life, unfettered by unreasonable restrictions imposed by actions of the

       state or its agencies.” 298 N.C. 715, 724, 260 S.E.2d 611, 617 (1979) (citations and

       quotation marks omitted) (quoted in Tully, 370 N.C. at 535, 810 S.E.2d at 214).2 Tully

       quoted Presnell for the further proposition that “[t]he right of a citizen to live and

       work where he will is offended when a state agency unfairly imposes some stigma or

       disability that will itself foreclose the freedom to take advantage of employment

       opportunities.” Tully, 370 N.C. at 535, 810 S.E.2d at 214-15 (quoting Presnell, 298

       N.C. at 724, 260 S.E.2d at 617).         It is undeniable that unreasonable employee

       discipline—including termination—by a government employer implicates this same

       right and raises the same concerns. See Presnell, 298 N.C. at 724, 260 S.E.2d at 617.

¶ 22          The Supreme Court in Tully ultimately announced that “Article I, Section 1

       also applies when a governmental entity acts in an arbitrary and capricious manner

       toward one of its employees by failing to abide by promotional procedures that the

       employer itself put in place.” 370 N.C. at 535-36, 810 S.E.2d at 215. In reaching this



              2 Presnell held that the discharged teacher was not denied due process protections,

       but Tully was not resolved on due process grounds. Tully, 370 N.C. at 532 n.4, 810 S.E.2d at
       213 n.4. The Supreme Court nevertheless relied on Presnell in its Article I, Section 1 analysis
       in Tully. Id. at 534-35, 810 S.E.2d at 214-15. We rely on Presnell to the same extent here.
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       conclusion, Tully relied on the United States Supreme Court’s reasoning in United

       States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 98 L. Ed. 681 (1954), and lower

       court decisions applying Accardi. According to Tully, Accardi and the cases applying

       it “recognize[] the impropriety of government agencies ignoring their own regulations,

       albeit in other contexts.” 370 N.C. at 536, 810 S.E.2d at 215 (citing Accardi, 347 U.S.

       at 268, 98 L. Ed. at 687; then citing United States v. Heffner, 420 F.2d 809, 811-12
       (4th Cir. 1969); and then citing Farlow v. N.C. State Bd. of Chiropractic Exam’rs, 76

       N.C. App. 202, 208, 332 S.E.2d 696, 700 (1985)).

¶ 23          Decisions recognizing the impropriety of government agencies ignoring their

       own rules in “other contexts,” though not directly cited in Tully,3 include the

       termination of public employees in violation of internal disciplinary procedures. See

       Service v. Dulles, 354 U.S. 363, 388-89, 1 L. Ed. 2d 1403, 1418 (1957) (applying

       Accardi to reinstate a foreign service officer fired by the Secretary of State despite a

       federal statute allowing at-will discharge because the agency violated its own

       procedures); Vitarelli v. Seaton, 359 U.S. 535, 545-46, 3 L. Ed. 2d 1012, 1020-21 (1959)

       (reinstating employment of a federal security guard under Accardi because the



              3 Tully cites Accardi, Heffner, and Farlow by way of a “See, e.g.,” signal.  370 N.C. at
       536, 810 S.E.2d at 215. Courts, practitioners, and legal academics use the signal “E.g.,” to
       show that the “[c]ited authority states the proposition; other authorities also state the
       proposition, but citation to them would not be helpful or is not necessary.” The Bluebook: A
       Uniform System of Citation R. 1.2(a) (Colum. L. Rev. Ass’n et al. eds., 21st ed. 2020). In other
       words, Tully acknowledges Accardi’s application beyond the other two decisions cited.
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       agency violated its own procedural rules at his termination hearing). These decisions

       do not interpret North Carolina law. But just as Tully found other decisions applying

       Accardi pertinent, we find the analysis in Dulles and Vitarelli instructive in our

       review of Tully and, for the reasons above, hold that Tully’s articulation of Article I,

       Section 1’s protections extends to the discipline of Sergeant Mole’.

          2. Sufficiency of Mole’s Complaint Under Tully

¶ 24          Having held that the disciplinary procedure at issue here falls within the ambit

       of Tully, we next examine whether the allegations in Sergeant Mole’s complaint

       otherwise satisfy the three elements established by our Supreme Court in that

       decision.4 The first two elements require Sergeant Mole’ to allege the existence and

       violation of an internal employment policy that was “clear [and] established . . . [and]

       that furthered a legitimate governmental interest.” Tully, 370 N.C. at 537, 810

       S.E.2d at 216.

¶ 25          Sergeant Mole’s complaint alleges several policy violations of varying stripes,

       namely: (1) the acting watch commander failed to deploy the hostage negotiation

       team, the Special Enforcement Team, or stage fire and emergency medical services;

       (2) the watch commander negotiated with Smoot without Sergeant Mole’s knowledge;

       (3) an “after-action report/critical incident critique” was not completed; (4) Sergeant



              4 The complaint asserts, and Durham did not contest before this Court, that Sergeant

       Mole’ has no other remedy in state law.
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       Mole’ took Smoot into custody because the designated tactical personnel were never

       deployed; (5) Sergeant Mole’ was not offered psychological services following the

       incident; (6) other officers failed to secure prior written consent to conduct the search

       that initiated the standoff with Smoot; (7) the incident should have been designated

       a high-risk warrant service but was not; (8) Sergeant Mole’ was not provided

       quarterly training and he did not meet annually with the department’s Special

       Enforcement Team as required for hostage negotiators; and (9) Durham gave

       Sergeant Mole’ only 24 hours’ notice of his pre-disciplinary conference instead of the

       minimum 72 hours’ notice mandated by policy.

¶ 26         The first eight policy violations alleged above put Sergeant Mole’ into an

       untenable position, but they do not state a claim under Tully. Tully protects public

       employees from unreasonable violations of employment policies, not field operating or

       training procedures that do not bear upon internal processes governing the employer-

       employee relationship.     See Tully, 370 N.C. at 537, 810 S.E.2d at 216 (“Tully’s

       allegations show that the City’s actions injured him by denying him a fair opportunity

       to proceed to the next stage of the competitive promotional process, thereby ‘unfairly

       impos[ing] [a] stigma or disability that will itself foreclose the freedom to take

       advantage of employment opportunities.’ ” (quoting Presnell, 298 N.C. at 724, 260

       S.E.2d at 617) (alteration in original)).

¶ 27         But Sergeant Mole’s allegation that he was given improper and inadequate
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       notice of his pre-disciplinary hearing does fall within Article I, Section 1’s protections.

       This shortened notice period violated Durham’s own employment disciplinary

       procedures. Sergeant Mole’ further alleges that these pre-disciplinary procedures

       were designed to further a legitimate government interest, namely that its employees

       be treated fairly in the administration of discipline.         Cf. id. (recognizing “the

       legitimate governmental interest of providing a fair procedure that ensures qualified

       candidates move to the next stage of the promotional process”). Sergeant Mole’ has

       thus pled a redressable violation of his employer’s disciplinary procedures designed

       to further a legitimate governmental interest, in satisfaction of the first two elements

       from Tully.

¶ 28         Sergeant Mole’ has likewise satisfied the final element, injury, based on a

       liberal construction of his complaint. Sergeant Mole’ specifically alleges that “[h]ad

       [he] been afforded his opportunity . . . to prepare at a minimum of three days instead

       of less than 24 hours, Sergeant Mole’ would have had reasonable notice and could

       have better prepared and provided a more comprehensive response.” From there, he

       asserts Durham “failed to comply with mandatory conditions precedent before

       proceeding with dismissal . . . [and] did not comply with its own stated [disciplinary]

       policies,” before alleging Durham’s “conduct including actions and omissions in its

       treatment of Sergeant Mole’ w[as] arbitrary, capricious, irrational and predicated

       upon selective enforcement of personnel and law enforcement policies and disparate
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       treatment in discipline and thereby deprived Sergeant Mole’ of the fruits of [his]

       labors.” These allegations are similar to those held adequate to demonstrate a claim

       in Tully, 370 N.C. at 536-37, 810 S.E.2d at 215-16, and we therefore hold Sergeant

       Mole’ has sufficiently alleged he “was injured as a result of [Durham’s procedural]

       violation[s].” Id. at 537, 810 S.E.2d at 216.5

¶ 29          We acknowledge North Carolina’s general policy of at-will employment, long

       established in common law. See, e.g., Presnell, 298 N.C. at 723-24, 260 S.E.2d at 616
       (“Nothing else appearing, an employment contract in North Carolina is terminable at

       the will of either party.”). We do not hold that Durham could not terminate Sergeant

       Mole’ based on the conduct at issue, or that Durham could not terminate Sergeant

       Mole’ without cause. Given the stage of proceedings, “we express no opinion on the

       ultimate viability of [Sergeant Mole’]s claim.” Id. at 537, 810 S.E.2d at 216. Like the

       Supreme Court in Tully, “we [do] not speculate regarding whether [Sergeant Mole’]

       would [not have been terminated] had [Durham] followed its own [disciplinary]

       policy.” Id. at 537-38, 810 S.E.2d at 216. At this early stage of litigation, we do not

       address whether Sergeant Mole’ must be reinstated or what relief must be afforded

       to him should he prevail, as “[i]t will be a matter for the trial judge to craft the



              5 Durham argues this procedural violation does not rise to a cognizable constitutional

       injury based on Hilliard v. N.C. Dep’t of Corr., 173 N.C. App. 594, 620 S.E.2d 14 (2005).
       Hilliard was decided prior to Tully, did not involve a claim under Article I, Section 1, and is
       therefore not controlling on this issue.
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       necessary relief.” Id. at 538, 810 S.E.2d at 216 (quoting Corum v. Univ. of N.C., 330

       N.C. 761, 784, 413 S.E.2d 276, 290-91 (1992)). We only hold that Durham must follow

       its own disciplinary procedures—created to protect its legitimate governmental

       interest in treating city employees fairly—in discharging Sergeant Mole’. If the

       evidence shows that Durham failed to do so and that Sergeant Mole’ was harmed by

       that failure, Article I, Section 1 of our Constitution provides a remedy.

       C. Due Process and Equal Protection

¶ 30         We next address the two remaining constitutional claims dismissed by the trial

       court. As explained below, we affirm the trial court based on precedent.

          1. Due Process

¶ 31         The Fourteenth Amendment to the United States Constitution provides that

       no state shall “deprive any person of life, liberty, or property, without due process of

       the law.” U.S. Const. amend. XIV, § 1. The North Carolina Constitution provides

       that “no person shall be taken, imprisoned, or disseized of his freehold, liberties, or

       privileges, or outlawed, or exiled, or in any manner deprived of his life, liberty, or

       property, but by the law of the land.” N.C. Const. art I, § 19. Our state’s “law of the

       land clause is considered ‘synonymous’ with the Fourteenth Amendment to the

       United States Constitution.” Woods v. City of Wilmington, 125 N.C. App. 226, 230,

       480 S.E.2d 429, 432 (1997) (citation omitted). Decisions of the United States Supreme

       Court as to federal due process are “highly persuasive, but not binding on the courts
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       of this State.” State v. Smith, 90 N.C. App. 161, 163, 368 S.E.2d 33, 35 (1988).

¶ 32         In order to succeed on a due process challenge, the plaintiff must first show

       that he “has been deprived of a protected interest in ‘property’ or ‘liberty.’ ”

       Dobrowolska v. Wall, 138 N.C. App. 1, 11, 530 S.E.2d 590, 598 (2000) (quoting Am.

       Mfrs. Mut. Ins. v. Sullivan, 526 U.S. 40, 59, 143 L. Ed. 2d 130, 149 (1999)). The court

       must decide whether the interest relates to a fundamental right “rooted in the

       traditions and conscience of our people.” Reno v. Flores, 507 U.S. 292, 303, 123 L. Ed.

       2d 1, 17 (1993) (citation and quotation marks omitted). “Property interests, of course,

       are not created by the Constitution. Rather they are created and their dimensions

       are defined by existing rules or understandings that stem from an independent source

       such as state law—rules or understandings that secure certain benefits and that

       support claims of entitlement to those benefits.” Bd. of Regents v. Roth, 408 U.S. 564,

       577, 33 L. Ed. 2d 548, 561 (1972). Whether a person’s interest in continued

       employment falls within the scope of constitutional protection is determined under

       the law of the state where the person is employed. Bishop v. Wood, 426 U.S. 341, 344,

       48 L. Ed. 2d 684, 690 (1976).

¶ 33         We are constrained by North Carolina Supreme Court precedent holding that

       employees in this state generally do not have a property interest in continued

       employment. Presnell, 298 N.C. at 723-24, 260 S.E.2d at 616. The Court in Presnell

       held that this rule applies to both private and public employment. Id. (“The fact that
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       plaintiff was employed by a political subdivision of the state does not entitle her to

       tenure . . . .”). The state may create a property interest in employment by statute,

       ordinance, or express or implied contract. Id. at 723, 260 S.E.2d at 616. In the

       absence of any of these, however, no such interest exists. Id. at 723-24, 260 S.E.2d at

       616.

¶ 34          Sergeant Mole’ argues Durham’s internal personnel policies established an

       “indirect or informal” property right in his continued employment. His complaint

       identifies governing provisions such as Durham’s “Disciplinary and Grievance” policy

       and its “practice and custom of commensurate discipline.” However, the complaint

       does not identify any policies that have been incorporated into ordinance or statute

       or included in Sergeant Mole’s employment contract.

¶ 35          We are bound by precedent holding that policies like those identified by

       Sergeant Mole’ do not give rise to a protected property interest. In Wuchte v. McNeil,

       this Court held that a Durham police officer, terminated without being afforded

       procedures provided by the city’s personnel policies, could not state a claim for

       wrongful termination without evidence that his employment contract, a statute, or

       an ordinance provided that he could only be dismissed for good cause. 130 N.C. App.

       738, 741-42, 505 S.E.2d 142, 145 (1998).6 We noted that “[a]n employee is presumed



              6 Wuchte was decided two decades prior to Tully, strictly on due process grounds.   130
       N.C. App. at 744, 505 S.E.2d at 146-47.
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       to be an employee-at-will absent a definite term of employment or a condition that

       the employee can only be fired only ‘for cause.’ ” Id. at 740, 505 S.E.2d at 144 (citation

       omitted). In Wuchte, as in this case, the plaintiff relied on personnel policies that had

       not been enacted as an ordinance, and we held that unilaterally promulgated

       personnel memoranda did not establish a protected property interest. Id. at 742, 505

       S.E.2d at 145.7

¶ 36          By contrast, in Howell v. Town of Carolina Beach, this Court held that a

       manual adopted by the town as an ordinance granted employees a “reasonable

       expectation of employment and a property interest within the meaning of the due

       process clause.” 106 N.C. App. 410, 417, 417 S.E.2d 277, 281 (1992). Sergeant Mole’s

       complaint does not allege that Durham has codified its personnel policies in an

       ordinance.

¶ 37          As we noted above, whether an employee has a constitutionally protected

       interest under the due process clause is not determined by reference to the federal

       constitution but depends on state law. Bishop, 426 U.S. at 344, 48 L. Ed. 2d at 690.




              7 This Court has previously questioned the rationale of this black-letter law. See, e.g.,
       Walker v. Westinghouse Elec. Corp., 77 N.C. App. 253, 259, 335 S.E.2d 79, 83-84 (1985)
       (“[T]here are strong equitable and social policy reasons militating against allowing employers
       to promulgate for their employees potentially misleading personnel manuals while reserving
       the right to deviate from them at their own caprice. Nevertheless, the law of North Carolina
       is clear that unilaterally promulgated employment manuals or policies do not become part of
       the employment contract unless expressly included in it.” (citations omitted)).
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       Federal courts applying North Carolina law have recognized that personnel rules and

       regulations merely supply internal administrative guidelines and do not grant a

       property interest subject to due process protections unless enacted as an ordinance.

       Pittman v. Wilson Cty., 839 F.2d 225, 229 (4th Cir. 1988); Dunn v. Town of Emerald

       Isle, 722 F.Supp. 1309, 1311 (E.D.N.C. 1989).

¶ 38         Sergeant Mole’ notes that he was granted “permanent employee” status after

       a probationary period, and his complaint alleges this status grants him the “right to

       be afforded due process in the disciplinary system.” But without contract provisions

       setting a term of employment or procedures by which the employment might be

       terminated, “permanent” employment is presumed to be terminable at the will of

       either party and does not alone confer a property or liberty interest in continued

       employment. Nantz v. Emp’t Sec. Comm’n, 290 N.C. 473, 477, 226 S.E.2d 340, 343
       (1976). But see Presnell, 298 N.C. at 724, 260 S.E.2d at 617 (“The liberty interest

       here implicated—the freedom to seek further employment—was offended not by her

       dismissal alone, but rather by her dismissal upon alleged unsupported charges which,

       left unrefuted, might wrongfully injure her future placement possibilities.”).

¶ 39         Sergeant Mole’ also argues that his dismissal was arbitrary and capricious,

       giving rise to a claim for violation of his due process rights “to continued employment

       when Defendant arbitrarily terminated [him].” But our Supreme Court has held that

       an at-will employee has no right to continued employment, and thus arbitrary
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       conduct by an at-will employer does not state a cognizable violation of the due process

       protections of the North Carolina Constitution. See Tully, 370 N.C. at 538-39, 810

       S.E.2d at 216-17 (holding Tully’s allegations that the City of Wilmington “arbitrarily

       and irrationally deprived [him]” of an alleged “property interest in his employment

       with the City” failed to state a valid due process claim under the North Carolina

       Constitution because, per Presnell, at-will public employees have no cognizable

       property interest in continued employment).

¶ 40         To be sure, this Court has recognized violations of state and federal substantive

       due process protections without requiring the plaintiff allege or demonstrate the

       deprivation of a recognized property or liberty interest where the State’s conduct was

       “so egregious that it shocks the conscience or offends a sense of justice.” Toomer v.

       Garrett 155 N.C. App. 462, 470, 574 S.E.2d 76, 84 (2002). But that case, unlike Tully,

       did not involve an employment decision. It instead concerned a state agency’s public

       disclosure of an employee’s personnel file, including social security number, medical

       diagnoses, and personal financial data, without any rational relationship to any

       governmental interest. 155 N.C. App. at 472, 574 S.E.2d at 85.8 In contrast to



             8 Sergeant Mole’ cites a United States Supreme Court decision holding that Oklahoma

       state employees’ federal substantive due process protections were violated by their
       employer’s arbitrary and capricious conduct, without finding that the employees had a
       property or liberty interest in the employment. Wieman v. Updegraf held that a statute
       requiring state employees to take a loyalty oath asserting they were not affiliated with
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       Toomer, a holding here that Sergeant Mole’s allegedly arbitrary and capricious

       termination violated his substantive due process rights, without a cognizable

       property interest in continued employment, would effectively hold that he could not

       be terminated except for cause. As discussed above, North Carolina employees do not

       enjoy that substantive due process protection unless it is explicitly incorporated into

       their employment contract or promulgated by statute or ordinance.

          2. Equal Protection

¶ 41          Sergeant Mole’ also asserts that Durham subjected him to disparate treatment

       as compared to similarly situated employees.              His complaint cites examples of

       misconduct by other Durham police officers that he alleges were more egregious than

       the actions that led to his termination.

¶ 42          Both our federal and state constitutions guarantee that individuals receive

       “the equal protection of the laws.” N.C. Const. Art. I, § 19; U.S. Const. amend. XIV,

       § 1. The equal protection clause of the United States Constitution’s Fourteenth




       communist organizations was unconstitutional. 344 U.S. 183, 191, 97 L. Ed. 216, 222 (1952).
       However, Weiman did not specifically address, and lower federal court decisions have not
       held, that arbitrary termination from at-will employment gives rise to a substantive due
       process claim. See, e.g., Darr v. Town of Telluride, Colo, 495 F.3d 1243, 1258 (10th Cir. 2007)
       (observing Wieman did not address at-will employment and holding a town could terminate
       a marshal, even for allegedly arbitrary and capricious reasons, because “[t]he substantive-
       due-process clause does not forbid a public employer from terminating its at-will employees
       without cause”); Singleton v. Cecil, 176 F.3d 419, 423-24 (8th Cir. 1999) (“[T]he defendants’
       alleged arbitrary and capricious firing of Officer Singleton, an at-will employee[,] . . . did not
       violate his substantive due process rights.”).
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       Amendment “has been expressly incorporated in Art. I, § 19 of the Constitution of

       North Carolina,” S.S. Kresge Co. v. Davis, 277 N.C. 654, 660, 178 S.E.2d 382, 385
       (1971), and the same analysis applies to both. Toomer, 155 N.C. App. at 476, 574

       S.E.2d at 88; see also Richardson v. N.C. Dep’t of Corr., 345 N.C. 128, 134, 478 S.E.2d

       501, 505 (1996) (applying “the same test as federal courts” to determine whether

       limiting working prisoners’ remedy to workers’ compensation violates their right to

       equal protection).

¶ 43         A typical equal protection claim alleges that the plaintiff was treated

       differently by legislation or a state actor due to their membership in a suspect class:

       race, color, religion, national origin, etc. See Engquist v. Or. Dep’t of Agric., 553 U.S.

       591, 601, 170 L. Ed. 2d 975, 985 (2008). Where the treatment varies based upon a

       suspect class or impacts a fundamental right, we apply strict scrutiny and determine

       whether the state action is necessary to promote a compelling government interest.

       State ex. rel. Utils. Comm’n v. Carolina Util. Customers Ass’n, 336 N.C. 657, 681, 446

       S.E.2d 332, 346 (1994).     The United States Supreme Court and, in turn, North

       Carolina courts, have also recognized the existence of “class of one” equal protection

       claims in which plaintiffs allege they were intentionally treated differently from

       others similarly situated. Village of Willowbrook v. Olech, 528 U.S. 562, 564, 145 L.

       Ed. 2d 1060, 1063 (2000); In re Application of Ellis, 277 N.C. 419, 424, 178 S.E.2d 77,

       80 (1970) (recognizing “the constitutional limitation forbidding arbitrary and unduly
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       discriminatory interference with the right of property owners”). When the plaintiff

       is not a member of a suspect class and does not assert wrongful termination in

       violation of a fundamental right,9 “it is necessary to show only that the classification

       created by the [government action] bears a rational relationship to some legitimate

       state interest.” Richardson, 345 N.C. at 134, 478 S.E.2d at 505 (citation omitted).

¶ 44          Sergeant Mole’ asserts a class-of-one claim by arguing that he was situated

       similarly to other Durham police officers who violated department policies and

       received significantly less severe discipline. The United States Supreme Court has

       recognized this type of claim in relation to real property rights. In Olech the Court

       held the complaint, alleging that the defendant arbitrarily required the plaintiff to

       cede a larger easement than her neighbors in order to connect to the municipal water

       supply, was sufficient to state a class-of-one claim. 528 U.S. at 565, 145 L. Ed. 2d at

       1063-64. Previous Supreme Court decisions also recognized this type of claim without

       explicitly identifying the claims as “class-of-one.” See Sioux City Bridge Co. v. Dakota

       Cty., 260 U.S. 441, 446-47, 67 L. Ed. 340, 343 (1923) (holding that assessing property

       at 100% of its true value when all other property in the county was evaluated at 55%

       violated equal protection); Allegheny Pittsburgh Coal Co. v. Cty. Comm’n of Webster



              9 Fundamental rights recognized by the United States Supreme Court include the

       right to vote, the right of interstate travel, rights guaranteed by the first amendment such
       as freedom of expression and religion, and the right to procreate. Carolina Utility Customers
       Ass’n, 336 N.C. at 681 n.6, 446 S.E.2d at 346 n.6 (1994).
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       Cty., 488 U.S. 336, 341-43, 102 L. Ed. 2d 688, 695-96 (1989) (holding assessment

       methodology that produced “dramatic differences in valuation” between petitioners’

       property and comparable surrounding land violated equal protection).

¶ 45         But the United States Supreme Court has held that class-of-one claims cannot

       be stated in the employment context. In Engquist, the plaintiff asserted a class-of-

       one equal protection claim against her employer, alleging that she was terminated

       for arbitrary, vindictive, and malicious reasons. 553 U.S. at 595, 170 L. Ed. 2d at

       982. A coworker who had personal issues with the plaintiff formed an alliance with

       an assistant director who had assured a client that the plaintiff would be “gotten rid

       of.” Id. at 594, 170 L. Ed. 2d at 981. The plaintiff was then passed over for a

       promotion in favor of a less-qualified coworker and told that she could only stay with

       the department if she accepted a demotion. Id. at 595, 170 L. Ed. 2d at 981.

¶ 46         While the Court recognized that the equal protection clause’s protections apply

       to administrative as well as legislative acts and that states do not escape its

       requirements in their role as employers, it distinguished between the government

       taking action as a regulator and the government taking action “as proprietor, to

       manage its internal operation.” Id. at 598, 170 L. Ed. 2d at 983 (cleaned up). The

       Engquist Court noted that some forms of state action, including employment

       decisions, “involve discretionary decisionmaking based on a vast array of subjective,

       individualized assessments.” Id. at 603, 170 L. Ed. 2d at 987. The Court reasoned
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       that as opposed to the regulation of third parties, treating similarly situated

       employees differently is “par for the course.” Id. at 604, 170 L. Ed. 2d at 988. The

       Court characterized class-of-one claims in the public employment context as “contrary

       to the concept of at-will employment,” id. at 606, 170 L. Ed. 2d at 989, and held that

       “the class-of-one theory of equal protection has no application in the public

       employment context[.]” Id. at 607, 170 L. Ed. 2d at 989.

¶ 47         We must again consider whether the analogous clause in the North Carolina

       Constitution is more protective and extends the guarantee of equal protection in the

       public employment context.     As with due process, the fact that the Fourteenth

       Amendment does not provide a cause of action for Sergeant Mole’ does not necessarily

       foreclose the possibility that our state Constitution could yield a remedy: the United

       States Constitution is the floor of constitutional protections in North Carolina, not

       the ceiling. See State v. Carter, 322 N.C. 709, 713, 370 S.E.2d 553, 555 (1988). The

       North Carolina Constitution is to be liberally construed, especially the provisions

       safeguarding individual liberty and property rights. Tully, 370 N.C. at 533, 810

       S.E.2d at 214.

¶ 48         However, precedent precludes us from unfettered liberal analysis. This Court

       has clearly and explicitly held that the equal protection rights guaranteed by the

       North Carolina Constitution are the same as those in the United States Constitution,

       and the analysis under each is the same. Toomer, 155 N.C. App. at 476, 574 S.E.2d
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       at 88. We have searched without success for decisions holding otherwise. Our review

       reveals no decision in North Carolina recognizing class-of-one claims in the

       employment context. We are bound by our existing precedent. Johnson v. State, 224

       N.C. App. 282, 297, 735 S.E.2d 859, 871 (2012). But the final arbiter of the North

       Carolina Constitution is the North Carolina Supreme Court. Lea Co. v. N.C. Bd. of

       Transp., 308 N.C. 603, 610, 304 S.E.2d 164, 170 (1983). Because our constitution is

       to be liberally construed, we urge the Supreme Court to address this issue.10

                                       III.     CONCLUSION

¶ 49          For the reasons explained above, we hold that the trial court erred in

       dismissing Sergeant Mole’s claim for violation of his right to the fruits of his labor

       and reverse that portion of the trial court’s order. We affirm the trial court’s dismissal

       of Sergeant Mole’s remaining claims. The matter is remanded to the trial court for

       further proceedings not inconsistent with this opinion.

              AFFIRMED IN PART, REVERSED IN PART AND REMANDED.

              JUDGES ZACHARY AND CARPENTER concur.




              10 In dissent, Justice Stevens characterized the Engquist majority’s exclusion of public

       employees as applying a “meat-axe” to resolve an issue better addressed with a scalpel. 553
       U.S. at 610, 170 L. Ed. 2d at 991. It is not necessary that protections provided by our state
       constitution exclude the same broad category of claims.
